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              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                Plaintiff,                            4:14-CR-3085
     vs.
                                                         ORDER
LISA J. SCHUTTE,
                Defendant.


     IT IS ORDERED that:

     1.    The Government's unopposed Motion to Continue Sentencing
           (filing 215) is granted.

     2.    Defendant Lisa J. Schutte's sentencing is continued to November
           4, 2015, at 11:00 a.m., before the undersigned United States
           District Judge, in Courtroom No. 1, Robert V. Denney United
           States Courthouse and Federal Building, 100 Centennial Mall
           North, Lincoln, Nebraska. The defendant shall be present at the
           hearing.

     Dated this 7th day of October, 2015.

                                         BY THE COURT:



                                         John M. Gerrard
                                         United States District Judge
